 Case: 4:21-cv-00127-DMB-DAS Doc #: 1-1 Filed: 10/07/21 1 of 4 PageID #: 8
Case: 06CO2:21-cv-00118 Document #: 2       Filed: 07/02/2021 Page 1 of 4




                      EXHIBIT
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 Case: 4:21-cv-00127-DMB-DAS Doc #: 1-1 Filed: 10/07/21 2 of 4 PageID #: 9
Case: 06CO2:21-cv-00118 Document #: 2       Filed: 07/02/2021 Page 2 of 4
 Case: 4:21-cv-00127-DMB-DAS Doc #: 1-1 Filed: 10/07/21 3 of 4 PageID #: 10
Case: 06CO2:21-cv-00118 Document #: 2       Filed: 07/02/2021 Page 3 of 4
 Case: 4:21-cv-00127-DMB-DAS Doc #: 1-1 Filed: 10/07/21 4 of 4 PageID #: 11
Case: 06CO2:21-cv-00118 Document #: 2       Filed: 07/02/2021 Page 4 of 4
